           Case 1:19-cv-00886-MMS Document 5 Filed 08/30/19 Page 1 of 1




           3Jn tbe Wniteb ~tates (!Court of jfeberal (!Claims
                                            No. 19-886C
                                     (Filed: August 30, 2019)

*************************************
JOHN FALIVENE,                      *
                                    *
            Plaintiff,              *
                                    *
V.                                  *
                                    *
THE UNITED STATES,                  *
                                    *
            Defendant.              *
*************************************

                                             ORDER

         On August 6, 2019, the court directed plaintiff to file an amended complaint by no later
than August 27, 2019, in order to comply with the court rules governing transferred cases. In
that order, the court also informed plaintiff that his failure to file an amended complaint may
result in the court dismissing his complaint for failure to prosecute. Plaintiff failed to file his
amended complaint, and the deadline for doing so has now passed. Accordingly, the court
DISMISSES plaintiffs complaint for failure to prosecute pursuant to Rule 41(b) of the Rules of
the United States Court of Federal Claims.

       IT IS SO ORDERED.
